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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On February 7, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following documents via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service lists attached hereto as Exhibit B and Exhibit
C:

    •    Order Extending the Deadline by Which Debtors May File Notices to Remove Actions
         [Docket No. 954]

    •    Order Extending the Deadline Pursuant to Section 365(d)(4) of the Bankruptcy Code
         to Assume or Reject Unexpired Leases of Nonresidential Real Property [Docket No.
         955]

       Furthermore, on February 7, 2024, at my direction and under my supervision, employees
of KCC caused to be served the following document via Electronic Mail upon the service list
attached hereto as Exhibit D; and via First Class Mail upon the service list attached hereto as
Exhibit E:

    •    Order Extending the Deadline by Which Debtors May File Notices to Remove Actions
         [Docket No. 954]

       Furthermore, on February 7, 2024, at my direction and under my supervision, employees
of KCC caused to be served the following document via Electronic Mail upon the service list
attached hereto as Exhibit F; and via First Class Mail upon the service list attached hereto as
Exhibit G:


1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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   •   Order Extending the Deadline Pursuant to Section 365(d)(4) of the Bankruptcy Code
       to Assume or Reject Unexpired Leases of Nonresidential Real Property [Docket No.
       955]

       Furthermore, on February 7, 2024, at my direction and under my supervision, employees
of KCC caused to be served the following document via Electronic Mail upon the service list
attached hereto as Exhibit H; and via First Class Mail upon the service list attached hereto as
Exhibit I:

   •   Third Monthly Application of Womble Bond Dickinson (US) LLP for Compensation
       for Services Rendered and Reimbursement of Expenses as Co-Counsel for the
       Debtors and Debtors in Possession for the Period from December 1, 2023 Through
       December 31, 2023 [Docket No. 956]

Dated: February 14, 2024
                                                   /s/ Michael Villa
                                                   Michael Villa
                                                   KCC
                                                   222 N Pacific Coast Highway, 3rd Floor
                                                   El Segundo, CA 90245
                                                   Tel 310.823.9000




                                              2
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                    Exhibit A
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                                                                                Exhibit A
                                                                         Core/2002 Service List
                                                                        Served via Electronic Mail



                Description                               CreditorName                       CreditorNoticeName                             Email
                                                                                                                          daniel.guyder@allenovery.com;
                                                                                                                          bradley.pensyl@allenovery.com;
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 Co., Ltd. (a/k/a Hon Hai Technology                                                  Daniel Guyder, Bradley Pensyl,      justin.ormand@allenovery.com;
 Group), Foxconn EV Technology, Inc.,                                                 Christopher Newcomb, Justin         joseph.badtke-berkow@allenovery.com;
 Foxconn EV Property Development LLC,                                                 Ormand, Joseph Badtke-Berkow,       jacob.herz@allenovery.com;
 and Foxconn EV System LLC                 Allen & Overy LLP                          Jacob R. Herz, Robin Spigel         robin.spigel@allenovery.com
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 and Foxconn EV System LLC                 Allen & Overy LLP                          Michael Modesto Gale                michael.modestogale@allenovery.com
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 Committee of Unsecured Creditors          Barry L. Leonard & Co. Inc.                Attn: Kim Parsons                   kim@trans-machine.com
 Top 30 and Committee of Unsecured
 Creditors                                 Barry L. Leonard and Company Inc.          dba Trans Machine Technologies      Barry@trans-machine.com
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 on behalf of themselves and similarly                                                                                    greg.varallo@blbglaw.com;
 situated stockholders of Lordstown Motors Bernstein Litowitz Berger &                Gregory V. Varallo, Glenn R.        glenn.mcgillivray@blbglaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                                 McGillivray, Daniel Meyer           daniel.meyer@blbglaw.com
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 on behalf of themselves and similarly                                                Jeroen van Kwawegen, Thomas         jeroen@blbglaw.com;
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 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                                 Lowing                              Margaret.Lowing@blbglaw.com
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 Foxconn                                       Hon Hai Precision Industry Co., Ltd    Attention Jerry Hsiao              jerry.hsiao@Foxconn.com
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                                                                    Core/2002 Service List
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                Description                           CreditorName                         CreditorNoticeName                              Email
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                                                                      Exhibit A
                                                               Core/2002 Service List
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 Debtors-in-Possession                   Womble Bond Dickinson (US) LLP     Patterson                      morgan.patterson@wbd-us.com
                                                                                                           bankfilings@ycst.com;
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 John LaFleur, and Rich Schmidt         LLP                                 Sean M. Beach, Shane Reil      sreil@ycst.com




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                    Exhibit B
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                                                                                                        Core/2002 Service List
                                                                                                      Served via First Class Mail



              Description                    CreditorName                      CreditorNoticeName                Address1                  Address2             Address3             City        State     Zip         Country
  Committee of Unsecured Creditors Barry L. Leonard & Co. Inc.           Attn: Kim Parsons                920 Brenner St                                                       Winston-Salem     NC    27101
  Top 30 and Committee of          Barry L. Leonard and Company          dba Trans Machine
  Unsecured Creditors              Inc.                                  Technologies                     Barry Leonard               920 Brenner St                           Winston-Salem     NC    27101
  Attorney General of CA (business
  operations)                      California Attorney General           Attn Bankruptcy Department       1300 I St., Ste. 1740                                                Sacramento        CA    95814-2919
  Official Committee of Equity                                                                            201 Main Street, Suite
  Security Holders                 Crestline Management, L.P.            Attn: Shaun McGowan              1100                                                                 Fort Worth        TX    76102
                                                                                                          Attn Bankruptcy
  Delaware State AG and DOJ            Delaware Dept of Justice          Attorney General                 Department                  Carvel State Building 820 N French St    Wilmington        DE    19801
  DE Secretary of State                Delaware Secretary of State       Division of Corporations         Franchise Tax               PO Box 898                               Dover             DE    19903
                                                                                                          820 Silver Lake Blvd.,
  DE State Treasury                    Delaware State Treasury                                            Suite 100                                                            Dover             DE    19904
  Attorney General of FL (emp
  operations)                          Florida Attorney General          Attn Bankruptcy Department       PL-01 The Capitol                                                    Tallahassee       FL    32399-1050
                                                                                                                                      Grand Pavilion,       802 West Bay
  Foxconn                              Foxconn (Far East) Limited                                         P.O. Box 31119              Hibiscus Way          Road               Grand Cayman            KY1-1205     Cayman Islands
                                                                         Attention: Jerry Hsiao and       4568 Mayfield Road, Suite
  Foxconn                              Foxconn EV Technology, Inc.       Steven Yu                        204                                                                  Cleveland         OH    44121
                                                                         c/o Hon Hai Precision Industry                          Tucheng Industrial
  Foxconn                              Foxconn Ventures Ptd. Ltd.        Co., Ltd. Attn Jerry Hsiao       No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
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  operations)                          Georgia Attorney General          Attn Bankruptcy Department       40 Capital Square, SW                                                Atlanta           GA    30334-1300
                                       Hon Hai Precision Industry Co.,                                                           Tucheng Industrial
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                                                                         Centralized Insolvency
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  Financial Advisor to the Official
  Committee of Equity Security                                                                            1700 Broadway, 19th
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  Attorney General of NC (emp
  operations)                          North Carolina Attorney General Attn Bankruptcy Department         9001 Mail Service Center                                             Raleigh           NC    27699-9001
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  US Trustee for District of DE        Trustee Delaware                Benjamin Hackman                   844 King St Ste 2207        Lockbox 35                               Wilmington        DE    19801
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  operations)                          Pennsylvania Attorney General     Attn Bankruptcy Department    Square                                                                  Harrisburg        PA    17120
  Official Committee of Equity
  Security Holders                     Pertento Partners LLP             Attn: Ian Trundle                111 Park Street                                                      London                  W1K 7JL      United Kingdom
  Top 30 and Committee of
  Unsecured Creditors                  SA Automotive LTD                 Shar Hedayat                     1307 Highview Dr                                                     Webberville       MI    48892




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                                                                                                   Exhibit B
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                                                                                                Core/2002 Service List
                                                                                              Served via First Class Mail



              Description                    CreditorName              CreditorNoticeName              Address1                  Address2              Address3           City      State     Zip      Country
  Committee of Unsecured Creditors SA Automotive Ltd.            Attn: Katherine Diederich      1307 Highview Drive                                                  Webberville    MI    48892
                                   Securities & Exchange                                                                    100 Pearl St., Suite
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                                   Securities & Exchange                                                                                           1617 JFK
  SEC Regional Office              Commission                    PA Regional Office             Regional Director           One Penn Center        Boulevard Ste 520 Philadelphia   PA    19103
                                   Securities & Exchange
  SEC Headquarters                 Commission                    Secretary of the Treasury      100 F St NE                                                          Washington     DC    20549
  Top 30 and Committee of
  Unsecured Creditors              Superior Cam Inc              John Basso                     31240 Stephenson Hwy                                                 Madison Heights MI   48071
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  operations)                      Texas Attorney General        Attn Bankruptcy Department     300 W. 15th St                                                       Austin         TX    78701
  US Attorney for District of      US Attorney for District of
  Delaware                         Delaware                      US Attorney for Delaware       1313 N Market Street        Hercules Building                        Wilmington     DE    19801




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                    Exhibit C
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                                                                    Exhibit C
                                                             Lienholders Service List
                                                            Served via First Class Mail

                                    CreditorName                     Address1                  City  State     Zip
                           COMPETITION ENGINEERING, INC     975 COMSTOCK STREET             MARNE    MI    49435-8751
                           HEWLETT-PACKARD FINANCIAL                                        BERKELEY
                           SERVICES COMPANY                 200 CONNELL DRIVE               HEIGHTS  NJ    07922
                           PETERSON JIG AND FIXTURE, INC.   301 ROCKFORD PARK DR. NE        ROCKFORD MI    49341
                           PETERSON JIG AND FIXTURE, INC.   PO BOX 641                      ROCKFORD MI    49341




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                    Exhibit D
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                                                           Exhibit D
                                                Litigation Parties Service List
                                                  Served via Electronic Mail

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       Alicia Kelley and Herbert Stotler        MURRAY LLP                prajesh@glancylaw.com
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       Angela Strand                                                      Email Redacted
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       Ashith Pabbathi                          c/o Lucas E. Gilmore      lucasg@hbsslaw.com
                                                HAGENS BERMAN             reed@hbsslaw.com;
       Ashith Pabbathi                          SOBOL SHAPIRO LLP         ucasg@hbsslaw.com
                                                HAGENS BERMAN
       Ashith Pabbathi                          SOBOL SHAPIRO LLP         steve@hbsslaw.com
       Bandol Lim Individually and on           Climaco Wilcox Peca &
       Behalfof all Others Similarly Situated   Garofoli Co, LPA          sdsimp@climacolaw.com
       Bandol Lim Individually and on                                     ipress@kmllp.com;
       Behalfof all Others Similarly Situated   Kirby Mcinerney LLP       lmolinaro@kmllp.com
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       Behalfof all Others Similarly Situated   R. Cruz                  fcruz@frankcruzlaw.com
       Bandol Lim, as Plaintiff in the
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                                            ANDREWS &           cspringer@andrewsspringer.com;
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 Michael D. Gates                      Pittenger                    LLP                          Hercules Plaza, 6th Flr.     PO Box 951   Wilmington    DE      19899-0951
 Michael Fabian                                                     Address Redacted
 Michael Gates                                                      Address Redacted
 Mickey W. Kowitz                                                   Address Redacted
 Mohammed Chowdhury                    Joseph F. Murray             Murray, Murphy, Moul & Basil 1114 Dublin Road                          Columbus      OH      43215
 Nico Gatzaros, as Lead Plaintiff                                                                250 Park Avenue, Suite
 Movant in the Securities Class Action Thomas W. Elrod              Kirby McInerney LLP          820                                       New York      NY      10177
 Nico Gatzaros, as Lead Plaintiff
 Movant in the Securities Class Action                              Address Redacted




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                                                                                             Exhibit E
                                                                                  Litigation Parties Service List
                                                                                   Served via First Class Mail


            CreditorName                     CreditorNoticeName                Address1                   Address2           Address3         City     State      Zip       Country
 Phil Schmidt                                                        Address Redacted
 Pnina Cohen                             Joseph F. Murray            Murray, Murphy, Moul & Basil 1114 Dublin Road                      Columbus       OH      43215
 Punak Egineering Inc                    Stephen Punkak              63 Via Pico Plaza            #223                                  San Clemente   CA      92672
 Randy Slipher                           James R. Cummins            Cummins Law                  312 Walnut Street                     Cincinnati     OH      45202
 Raymond Romano                          Cooch and Taylor            1000 N. West Street          Suite 1500                            Wilmington     DE      19801
                                                                                                  7777 Glades Road Ste
 Raymond Romano                          Lester R. Hooker            Saxena White                 300                                   Boca Raton     FL      33434
 Raymond Romano                          Saxena White P.A.           7777 Glades Road             Suite 300                             Boca Raton     FL      33434
 Richard Dowell, as Lead Plaintiff
 Movant in the Securities Class Action   Richard Dowell              123 N Pierce Street                                                Crestline      OH      44827
 Richard Dowell, as Lead Plaintiff
 Movant in the Securities Class Action                               250 Park Avenue, Suite 820                                         New York       NY      10177
 Richard Schmidt                                                     Address Redacted
 Richard Schmidt                                                     Address Redacted
 Robert Miller                           Robert J. Wagoner           Dittmer, Wagoner & Steele      107 W. Johnstown Road               Gahanna        OH      43230
                                                                                                    505 Lomas Santa Fe Dr
 Robert Palumbo                          David R. Kaplan             Saxena White                   Ste 180                             Solana Beach   CA      92075-1340
 Roberto Palumbo                         Cooch and Taylor            1000 N. West Street            Suite 1500                          Wilmington     DE      19801
 Roberto Palumbo                         Saxena White P.A.           7777 Glades Road               Suite 300                           Boca Raton     FL      33434
 Shane Brown                                                         Address Redacted
 Silverpeak Credit Partners LP           Jonathan Socolow, Esq.      40 W 57th Street, 29th Floor                                       New York       NY      10019
 Silverpeak Real Estate Partners L.P.                                40 W 57th Street, 29th Floor                                       New York       NY      10019
 Silverpeak Renewables Investment
 Partners LP                                                        40 W 57th Street, 29th Floor                                        New York       NY      10019
 Silverpeak Strategic Partners LLC                                  40 W 57th Street, 29th Floor                                        New York       NY      10019
 Simha Cohen                             Joseph F. Murray           Murray, Murphy, Moul & Basil 1114 Dublin Road                       Columbus       OH      43215
 SP SPAC Sponsor LLC                                                40 W 57th Street, 29th Floor                                        New York       NY      10019
 Stephen Burns                                                      Address Redacted
 Stephen S. Burns                                                   Address Redacted
 Stephen S. Burns                                                   Address Redacted
 Stephen S. Burns                                                   Address Redacted
 Steve Hash                                                         Address Redacted
                                                                                                 127 Public Square Ste
 Steven R. Hash                          Douglas L. Shively         Baker & Hostetler            200                                    Cleveland      OH      44114
 Steven Terry                            James R. Cummins           Cummins Law                  312 Walnut Street                      Cincinnati     OH      45202
 Sulayman Zuod                           Cooch and Taylor           1000 N. West Street          Suite 1500                             Wilmington     DE      19801
 Sulayman Zuod                           Murray Murphy Moul & Basil 1114 Dublin Road                                                    Columbus       OH      43215
                                         Samuel H. Rudman and Mary Robbins Geller Rudman &       58 South Service Road,
 Sulayman Zuod                           K. Blasy                   Dowd LLP                     Suite 200                              Melville       NY      11747




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                    Exhibit F
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                                                      Exhibit F
                                               Landlords Service List
                                              Served via Electronic Mail

                      CreditorName            CreditorNoticeName                   Email
                                             Aidenbaum Schloff and
              275 Hills Tech Ventures LLC    Bloom PLLC             ssturing@aidenbaum.com
                                                                    john@ventureinv.com;
              275 Hills Tech Ventures LLC                           ashulin@libertypropertymgmt.com
                                                                    eabke@libertypropertymgmt.com;
              275 Hills Tech Ventures, LLC   Erica Abke             jshulin@spmc.net
              Applied Medical Resources      Nabil Hilal - Group    nabil@appliedmedical.com;
              Corporation                    President - Technology contracts@aircre.com
              Applied Medical Resources
              Corporation                    Zoran Falkenstein       zfalkenstein@appliedmedical.com
              Applied Medical Resources
              Corporation                                            nabil@appliedmedical.com
              Foxconn EV Property
              Development LLC                Attention Jerry Hsiao   jerry.hsiao@foxconn.com
              Foxconn EV Property            Attn Jerry Hsiao and    jerry.hsiao@foxconn.com;
              Development LLC                Steven Yu               stevenyu@foxconn.com
              Foxconn EV Property
              Development LLC                Paul Hastings LLP       mikehuang@paulhastings.com
              Foxconn EV Property                                    puwei.huang@foxconn.com;
              Development LLC                Puwei Huang             Alan.chang@fewidev.com
              GAC R and D Center Silicon     Fan Zhang, General
              Valley, Inc.                   Manager                 zhangfan@gacrnd.com
              GAC R and D Center Silicon
              Valley, Inc.                   Marc N. Swanson         swansonm@millercanfield.com
              GAC R&D Center Silicon
              Valley, Inc                    Max Fong                mfong@gacrndusa.com




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                    Exhibit G
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                                                                                 Exhibit G
                                                                          Landlords Service List
                                                                         Served via First Class Mail

           CreditorName                 CreditorNoticeName          Address1                Address2        Address3          City        State      Zip       Country
                                       Aidenbaum Schloff and 6960 Orchard Lake                                          West Bloomfield
275 Hills Tech Ventures LLC            Bloom PLLC             Road, Suite 250                                           Township          MI      48322
275 Hills Tech Ventures LLC                                   P.O. Box 668                                              Troy              MI      48099
275 Hills Tech Ventures, LLC           Erica Abke             PO Box 668                                                Troy              MI      48099
Applied Medical Resources              Nabil Hilal - Group    22872 Avenida                                             Rancho Santa
Corporation                            President - Technology Empresa                                                   Margarita         CA      92688
Applied Medical Resources                                     22872 Avenida                                             Rancho Santa
Corporation                            Zoran Falkenstein      Empresa                                                   Margarita         CA      92688
Applied Medical Resources                                     22872 Avenida                                             Rancho Santa
Corporation                                                   Empresa                                                   Margarita         CA      92688
                                                                                                       Tucheng
Foxconn EV Property                                            c/o Hon Hai Precision No. 66, Zhongshan Industrial Zone
Development LLC                        Attention Jerry Hsiao   Industry Co., Ltd     Road              Tucheng District New Taipei City           23680        Taiwan
Foxconn EV Property                    Attn Jerry Hsiao and
Development LLC                        Steven Yu               4568 Mayfield Rd.       Ste. 204                         Cleveland         OH      44121
Foxconn EV Property
Development LLC                        Paul Hastings LLP       Attn Mike Huang      200 Park Avenue                     New York          NY      10166
Foxconn EV Property                                            2300 Hallock Young
Development LLC                        Puwei Huang             Rd                                                       Warren            OH      44481
GAC R and D Center Silicon             Fan Zhang, General      No. 668 Jinshan Road Panyu District,
Valley, Inc.                           Manager                 East                 Guangzhou                           Guangdong                              China
                                                               Miller, Canfield,
GAC R and D Center Silicon                                     Paddock and Stone,   150 West Jefferson
Valley, Inc.                           Marc N. Swanson         P.L.C.               Suite 2500                          Detroit           MI      48226
GAC R&D Center Detroit, LLC            Ding Dong               38555 Hills Tech Dr.                                     Famington Hills   MI      48331
GAC R&D Center Silicon Valley,                                 780 Montague Expy
Inc                                    Max Fong                Ste 702                                                  San Jose          CA      95131-1321
                                                               260 E Brown St Suite
Willowgreen Building Group, LLC                                340                                                      Birmingham        MI      48009




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                    Exhibit H
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                                                               Exhibit H
                                                      Fee Application Service List
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          Description                    CreditorName               CreditorNoticeName                      Email
 Counsel to the Official                                        Matthew A. Sawyer, Sharon msawyer@brownrudnick.com;
 Committee of Equity Security                                   I. Dwoskin, Tristan G.      sdwoskin@brownrudnick.com;
 Holders                          Brown Rudnick LLP             Axelrod                     taxelrod@brownrudnick.com
 Counsel to the Official                                        Robert J. Stark, Bennett S. rstark@brownrudnick.com;
 Committee of Equity Security                                   Silverberg, Michael S.      bsilverberg@brownrudnick.com;
 Holders                          Brown Rudnick LLP             Winograd                    mwinograd@brownrudnick.com
 Debtors                          Lordstown Motors Corp.        Attn: Adam Kroll            Email Redacted
 Counsel to the Official
 Committee of Equity Security                                   Eric J. Monzo, Brya M.     emonzo@morrisjames.com;
 Holders                          Morris James LLP              Keilson                    bkeilson@morrisjames.com
                                  Office of the United States                              USTPRegion03.WL.ECF@USDOJ.GOV;
 US Trustee for District of DE    Trustee Delaware              Benjamin Hackman           benjamin.a.hackman@usdoj.gov
 Counsel to the Official
 Committee of Unsecured           Troutman Pepper Hamilton David M. Fournier, Tori L.      david.fournier@troutman.com;
 Creditors                        Sanders LLP              Remington                       tori.remington@troutman.com
 Counsel to the Official
 Committee of Unsecured           Troutman Pepper Hamilton
 Creditors                        Sanders LLP              Deborah Kovsky-Apap             deborah.kovsky@troutman.com
 Counsel to the Official
 Committee of Unsecured           Troutman Pepper Hamilton
 Creditors                        Sanders LLP              Francis J. Lawall               francis.lawall@troutman.com
 Counsel to the Official
 Committee of Unsecured           Troutman Pepper Hamilton
 Creditors                        Sanders LLP              Sean P. McNally                 sean.mcnally@troutman.com
 Co-Counsel for the Debtors
 and Debtors-in-Possession        White & Case LLP              David M. Turetsky          david.turetsky@whitecase.com
 Co-Counsel for the Debtors
 and Debtors-in-Possession        White & Case LLP              Jason N. Zakia           jzakia@whitecase.com
                                                                                         rkampfner@whitecase.com;
 Co-Counsel for the Debtors                                     Roberto Kampfner, Doah   doah.kim@whitecase.com;
 and Debtors-in-Possession        White & Case LLP              Kim, RJ Szuba            rj.szuba@whitecase.com
                                                                                         tlauria@whitecase.com;
 Co-Counsel for the Debtors                                     Thomas E Lauria, Matthew mbrown@whitecase.com;
 and Debtors-in-Possession        White & Case LLP              C. Brown, Fan B. He      fhe@whitecase.com
 Local Co-Counsel for the
 Debtors and Debtors-in-          Womble Bond Dickinson         Donald J. Detweiler,       don.detweiler@wbd-us.com;
 Possession                       (US) LLP                      Morgan L. Patterson        morgan.patterson@wbd-us.com




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                    Exhibit I
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                                                                            Exhibit I
                                                                  Fee Application Service List
                                                                   Served via First Class Mail

                      Description                   CreditorName         CreditorNoticeName    Address1 Address2        City    State Zip
                                              Office of the United                            844 King St
             US Trustee for District of DE    States Trustee Delaware   Benjamin Hackman      Ste 2207    Lockbox 35 Wilmington DE   19801




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